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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 ONTARIO TEACHERS’ PENSION PLAN BOARD,                    :
 Individually and as Lead Plaintiff on behalf of all      :
                                                          :   No. 3:17-cv-00558 (SRU)
 others similarly situated; and
                                                          :
 ANCHORAGE POLICE & FIRE RETIREMENT                       :
 SYSTEM, Individually and as Named Plaintiff on           :   Class Action
 behalf of all similarly-situated bond purchasers,        :
        Plaintiffs,                                       :
                                                          :
                v.                                        :
                                                          :
 TEVA PHARMACEUTICAL INDUSTRIES LTD.;                     :
 EREZ VIGODMAN; EYAL DESHEH; SIGURDUR                     :
 OLAFSSON; DEBORAH GRIFFIN; AND TEVA                      :
 PHARMACEUTICAL FINANCE NETHERLANDS                       :
 III B.V.,                                                :   October 25, 2019
                                                          :
        Defendants.                                       :



               RULE 26(f) REPORT OF PARTIES’ PLANNING MEETING

Date Initial Complaint Filed:              Nov. 6, 2016

Date Consolidated Complaint Served:        Service waived pursuant to Fed. R. Civ. P. 4.

Date Operative Complaint Filed:            June 22, 2018

Date of Defendants’ Appearances:           Apr. 26, 2017: Teva Pharmaceutical Industries Ltd.
                                           Aug. 15, 2017: Eyal Desheh and Erez Vigodman
                                           Oct. 12, 2017: Teva Pharmaceutical Finance
                                           Netherlands III B.V. and Deborah Griffin
                                           Nov. 2, 2017: Sigurdur Olafsson

       Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, the Rule 26(f)

conference was held on October 11, 2019, and counsel engaged in further discussion on October

22, 2019. The participants were:

      Joseph A. Fonti, Christopher Rooney, Susan Podolsky, Evan A. Kubota, and Thayne
       Stoddard for Lead Plaintiff Ontario Teachers’ Pension Plan Board (“Ontario Teachers’”)
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           and Named Plaintiff Anchorage Police and Fire Retirement System (“Anchorage,” and,
           collectively with Ontario Teachers’, “Plaintiffs”); and

          Jason Frank and Emily Renshaw for Defendants Teva Pharmaceutical Industries Ltd.
           (“Teva”), Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah Griffin, and Teva
           Pharmaceutical Finance Netherlands III B.V.

I.         CERTIFICATION

           Undersigned counsel (after consultation with their clients) certify that (a) they have

discussed the nature and basis of the parties’ claims and defenses and any possibilities for

achieving a prompt settlement or other resolution of the case; and (b) they have developed the

following proposed case management plan. Counsel further certify that they have forwarded a

copy of this report to their clients.

II.        JURISDICTION

           A.     Subject Matter Jurisdiction

           The parties agree that this Court has subject matter jurisdiction pursuant to: (i) Section 27

of the Exchange Act (15 U.S.C. § 78aa); and, separately, (ii) Section 22 of the Securities Act (15

U.S.C. § 77v).

           B.     Personal Jurisdiction

           Personal jurisdiction is not contested by the Defendants.

III.       BRIEF DESCRIPTION OF THE CASE

           A.     Claims of Plaintiffs

           This securities class action arises from Defendants’ misstatements during the Class Period

(February 6, 2014 to August 3, 2017, inclusive), attributing Teva’s seemingly remarkable financial

turnaround to durable and fundamental business strategies, like cost cutting and good product

management. These false statements fraudulently concealed that Teva’s record profits were

actually the unsustainable result of systematic price increases on its generic drugs, a deliberate




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lack of competition, and illegal collusion among Teva and its peers. As a result of these false

statements, investors suffered damages when it was revealed that Teva was a target of State and

Federal investigations into generic drug price fixing, and that the financial condition of Teva’s

generic drug business was significantly impaired because Teva could not maintain its inflated

prices in the face of increased public scrutiny.

       On these allegations, Plaintiffs, on behalf of themselves and the members of the Class,

allege the following claims in this consolidated securities class action:

            i.   fraud based claims under Sections 10(b) and 20(a) of the Exchange Act of 1934
                 (Counts I and II, respectively) against Defendants Teva, Erez Vigodman, Eyal
                 Desheh, Sigurdur Olafsson, and Deborah Griffin; and

         ii.     strict liability and negligence claims under Sections 11, 12(a)(2), and 15 of the
                 Securities Act of 1933 (Counts III, IV, and V, respectively), against Defendants
                 Teva, Teva Pharmaceutical Finance Netherlands III B.V., Erez Vigodman, Eyal
                 Desheh, and Deborah Griffin.

       B.        Defenses and Claims (Affirmative Defenses, Counterclaims,
                 Third Party Claims, Cross Claims) (either pled or anticipated)
                 of Defendant/s:

       Plaintiffs have sought to take antitrust claims and convert them into violations of the federal

securities laws. For a number of reasons, Plaintiffs’ allegations will not survive a motion for

summary judgment, much less a trial on the merits.

       To begin, Plaintiffs cannot prove that any Defendant acted with scienter, which Plaintiffs

are required to prove separately as to each Defendant (as opposed to relying on allegations made

as to “all Defendants,” as Plaintiffs impermissibly do in their Complaint). In short, even if

Plaintiffs could prove that Teva engaged in “systematic price increases on its generic drugs, a

deliberate lack of competition, and illegal collusion,” in order to prevail on their securities fraud

claims, Plaintiffs are required to prove that each Defendants made a false or misleading statement

with scienter. Plaintiffs will not be able to do so.



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       In addition, Plaintiffs cannot prove that any of the challenged statements were false or

misleading statements of material fact.

       Plaintiffs cannot prove reliance, including reliance based on the fraud on the market theory.

       Plaintiffs cannot prove loss causation – the facts will show that there was no disclosure that

revealed an alleged fraud to investors and thereby caused Plaintiffs’ alleged loss.

       Plaintiffs cannot prove the elements of control person liability, including in particular

culpable participation.

       Defendants also expressly reserve the arguments that they advanced in support of their

motions to dismiss, which the evidence will show are valid defenses against Plaintiffs’ claims.

Further, Teva anticipates asserting numerous affirmative defenses, including but not limited to:

              The Complaint fails to state a claim on which relief may be granted.

              If and to the extent that Plaintiffs and the members of the purported plaintiff class
               have been damaged, which Teva denies, the amount of damages that Plaintiffs and
               the members of the purported plaintiff class allege to have suffered is too remote or
               speculative to allow recovery, and it is impossible to ascertain and allocate such
               alleged damages with reasonable certainty.

              To the extent Plaintiffs may seek damages for injuries occurring prior to the
               applicable limitations period, Plaintiffs’ claim is barred in whole or in part, by the
               applicable statute of limitations. 15 U.S.C. § 15b.

              Each of Plaintiffs’ claims or causes of action is barred, in whole or in part, because
               Plaintiffs’ claims are not properly maintainable as a class action under Rule 23 of
               the Federal Rules of Civil Procedure.

              The Complaint is barred on the ground that the acts complained of, to the extent
               they occurred, were procompetitive in nature, and done solely to promote,
               encourage, and increase competition. Accordingly, Defendants’ conduct was
               reasonable, justified, and privileged.

              The Complaint is barred on the ground that the actions complained of, to the extent
               they occurred, are permissible under the federal securities laws.

              Plaintiffs are not adequate representatives for the class they seek to represent.

       Defendants hereby give notice that they intend to assert and rely upon such other defenses


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and affirmative defenses that may become available or apparent as this action proceeds, and thus

reserve the right to assert such defenses as they identify in their Answer and any supplements

thereto.

       C.       Defenses and Claims of Third Party Defendant/s: not applicable.


IV.    STATEMENT OF UNDISPUTED FACTS

       Counsel certify that they have made a good faith attempt to determine whether there are

any material facts that are not in dispute. The following material facts are undisputed:

       1.       Teva Pharmaceutical Industries Ltd. is incorporated in Israel.

       2.     On February 6, 2014, Teva Pharmaceutical Industries Ltd. held its Fourth Quarter
2013 earnings call.

       3.      On May 1, 2014, Teva Pharmaceutical Industries Ltd. held its First Quarter 2014
earnings call.

       4.       On July 31, 2014, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with the
SEC.

       5.     On October 30, 2014, Teva Pharmaceutical Industries Ltd. held its Third Quarter
2014 earnings call.

       6.       On October 30, 2014, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with
the SEC.

      7.     On December 11, 2014, Teva Pharmaceutical Industries Ltd. held a 2015 Business
Outlook Meeting.

       8.       On February 5, 2015, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with
the SEC.

       9.     On February 5, 2015, Teva Pharmaceutical Industries Ltd. held its Fourth Quarter
2014 earnings call.

       10.      On April 21, 2015, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with the
SEC.

       11.     On April 30, 2015, Teva Pharmaceutical Industries Ltd. held its First Quarter 2015
earnings call.




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       12.     On April 30, 2015, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with the
SEC.

       13.     On July 30, 2015, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with the
SEC.

       14.     On October 29, 2015, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with
the SEC.

       15.    On October 29, 2015, Teva Pharmaceutical Industries Ltd. held its Third Quarter
2015 earnings call.

       16.    On November 30, 2015, Teva Pharmaceutical Industries Ltd. filed a Form 424B5
with the SEC.

       17.     On February 11, 2016, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with
the SEC.

       18.    On February 11, 2016, Teva Pharmaceutical Industries Ltd. held its Fourth Quarter
2015 earnings call.

       19.     On May 9, 2016, Teva Pharmaceutical Industries Ltd. held its First Quarter 2016
earnings call.

       20.     On May 9, 2016, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with the
SEC.

       21.     On November 15, 2016, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with
the SEC.

       22.     On February 13, 2017, Teva Pharmaceutical Industries Ltd. filed a Form 6-K with

the SEC.


V.     CASE MANAGEMENT PLAN:

       Plaintiffs’ Position:

       This action was initially filed on November 6, 2016. Like other major securities class

actions in this Circuit, discovery can be completed and summary judgment motions filed within

roughly one year of the Court’s September 25, 2019 decision resolving Defendants’ motions to

dismiss and commencement of discovery on October 11, 2019. To ensure a prompt recovery for

victims of Defendants’ fraud, it is critical that the Court establish a clear case management plan


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with rigorously enforced deadlines and an efficient and prompt mechanism for dispute resolution.

To that end, Plaintiffs respectfully submit that the Court should enter the proposed order attached

as Exhibit A hereto.

       Plaintiffs’ proposed one-year timetable is fully consistent with schedules successfully

utilized by Judge Cote and Judge Rakoff in the two largest securities class action recoveries in the

Second Circuit—In re WorldCom, Inc. Sec. Litig., No. 02 Civ. 3288 DLC, 2003 WL 23416532

(S.D.N.Y. Nov. 14, 2003), 2004 WL 868401 (S.D.N.Y. Jan. 20, 2004), 2004 WL 1064481

(S.D.N.Y. May 12, 2004) (15 months from decision to summary judgment) and In re Petrobras

Sec. Litig., No. 1:14-cv-09662-JSR (S.D.N.Y.) (eight and a half months from decision to summary

judgment). These actions involved dozens of defendants (at least 67 in WorldCom, and 37 in

Petrobras); the production of millions of documents (over 10 million pages in WorldCom and 7

million documents in Petrobras); simultaneous government criminal and civil investigations;

foreign documents and witnesses; and (in WorldCom) a parallel bankruptcy proceeding. See

WorldCom, 2004 WL 802414, at *1 (S.D.N.Y. Apr. 15, 2004); 2004 WL 2591402, at *3 (S.D.N.Y.

Nov. 12, 2004); Petrobras, No. 1:14-cv-09662-JSR, ECF 789 at 45-46. Plaintiffs’ proposed

schedule is also consistent with the schedule in In re Computer Sciences Corporation Sec. Litig.,

No. 1:11-cv-610 (E.D. Va.) (“CSC”) (six months to summary judgment), a securities class action

in which Ontario Teachers’ as class representative, represented by Lead Counsel, obtained what

was then the second-largest all-cash securities class action settlement in the Eastern District of

Virginia. CSC involved the production of over five million pages of documents and 27 fact

depositions, including in the United Kingdom, and all fact discovery was completed in less than

six months. See Ex. D; No. 1:11-cv-610 (E.D. Va.), ECF 321 at 7.




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        The scheduling orders from WorldCom, Petrobras, and CSC are attached for the Court’s

reference as Exhibits B-D. Lead Plaintiff and Lead Counsel are fully experienced and equipped

to litigate the instant action efficiently and on a similar timetable.

        Defendants’ Position:

        This case is the most advanced of over 20 civil actions against these defendants, based on

allegations of violations of the federal securities laws. Plaintiffs’ claims here relate not only to

Defendants’ SEC filings and public statements, but also to related allegedly underlying antitrust

violations. Here, the class period spans approximately two-and-a-half years, the Complaint

focuses on numerous alleged misrepresentations, and Plaintiffs have based their claims on

allegedly improper price fixing or price hikes in connection with dozens of separate generic drugs.

In addition, currently pending is an MDL proceeding, In re Generics Pharmaceuticals Pricing

Antitrust Litigation, 16-MD-2724 (E.D. Pa.), that is based on alleged antitrust violations by certain

defendants here. Here, Plaintiffs allege, inter alia, that Defendants participated in anticompetitive

conduct that is the subject of the MDL, misrepresented that Teva was participating in competitive

markets for generic drugs, which, according to Plaintiffs, was anticompetitive because of the same

course of conduct alleged in the MDL cases, and misrepresented the drivers of Teva’s financial

results while failing to disclose the anticompetitive conduct alleged in the MDL cases. In order to

avoid significant duplication of effort and unnecessary expense, this case should be coordinated

with all of those other cases, including potentially the coordination of common discovery.

        Witnesses and documents in this case are located both in the United States and abroad,

including in Israel. Plaintiffs already have propounded nearly 100 document requests, and there

is likely to be an extensive document production numbering in the many millions of

pages. Further, Plaintiffs alone anticipate taking 24 depositions of fact witnesses around the

country and in Israel. In light of the complexity of this case, as well as the myriad of related cases


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in this jurisdiction and others, Defendants’ proposed 18-month fact discovery window is entirely

reasonable.

       Defendants’ proposed schedule is consistent with schedules set by this Court in civil

actions far less complex than this case. See Siemon v. Commscope, No. 3:06-cv-00324 (SRU) (16-

month fact discovery schedule); Roberts v. Liberty Mutual, No. 13-cv-00435 (SRU) (16-month

fact discovery schedule). It is also consistent with other schedules within the Second

Circuit. Wilson v. LSB Indus., Inc., No. 15-cv-07614 (15-month fact discovery schedule). The

Siemon case and the Roberts case — over which this court presided — did not need to be

coordinated with approximately twenty other actions or an MDL action, unlike this case. The

relatively straightforward claims in Roberts bore no similarity the multifaceted, expansive, and

international nature of fact discovery in this case.

       Plaintiffs’ proposed schedule is inconsistent with this Court’s prior schedules. It provides

for a fact discovery schedule of less than 10 months, far shorter than the 16 months this Court

allowed in Siemon and Roberts. Plaintiffs’ support their rapid schedule by cherry-picking two

notorious cases from the Southern District of New York and a case from Virginia’s famous rocket

docket. But Plaintiffs fail to point to a similar schedule from this District, let alone this Court.

       A.      Initial Disclosures

       Initial disclosures will be served by 5 PM Eastern Standard Time on November 15, 2019.

       B.      Scheduling Conference

       1.      The parties do not request to be excused from holding a pretrial conference with

the Court before entry of a scheduling order pursuant to Fed. R. Civ. P. 16(b).

       2.      The parties prefer that a scheduling conference, if held, be conducted in person.




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        C.     Early Settlement Conference

       1.      The parties certify that they have considered the potential benefits of attempting to

settle the case before undertaking significant discovery or motion practice. The parties will

communicate, as appropriate, to explore the prospects for a mutually acceptable settlement.

Settlement is unlikely at this time.

       2.      The parties do not request an early settlement conference.

       3.      The parties prefer a settlement conference, when such a conference is held, with:

Plaintiffs’   Position:   Settlement   discussion    should    be   pursued    through   a   private

mediator/parajudicial officer. Defendants’ Position: The presiding judge or a magistrate judge.

       4.      The parties do not request a referral for alternative dispute resolution pursuant to

D. Conn. L. Civ. R. 16. Plaintiffs’ Position: Plaintiffs are experienced in private mediation and

agree to remain in communication about the potential for settlement discussions.

       D.      Joinder of Parties, Amendment of Pleadings, and
               Motions Addressed to the Pleadings

       The parties have discussed any perceived defects in the pleadings and have reached the

following agreements for resolution of any issues related to the sufficiency of the pleadings.

       1.      Plaintiffs should be allowed until thirty (30) days following the close of fact

discovery to file motions to join additional parties and to file motions to amend the pleadings.

Motions filed after the foregoing dates will require, in addition to any other requirements under

the applicable rules, a showing of good cause for the delay.

       2.      In the event that Plaintiffs move to add additional parties or to amend the complaint,

Defendants should be allowed until thirty (30) days after Plaintiffs’ motion to file motions to join

additional parties and/or a response to any motion to amend the pleadings. Motions filed after the




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foregoing dates will require, in addition to any other requirements under the applicable rules, a

showing of good cause for the delay.

           E.        Discovery

           a.        Recognizing that the precise contours of the case, including the amounts of

damages at issue, if any, may not be clear at this point in the case, in making the proposals below

concerning discovery, the parties have considered the scope of discovery permitted under Fed. R.

Civ. P. 26(b)(1). At this time, the parties wish to apprise the Court of the following information

regarding the “needs of the case”: not applicable.

           b.        The parties anticipate that discovery will be needed on the following subjects:

           Plaintiffs’ Position:

           Plaintiffs require discovery on any non-privileged matter within the scope of Federal Rule

of Civil Procedure 26(b) including, without limitation, on the following subjects:

                i.   Defendants’ statements about the profitability and pricing of generic drugs;

             ii.     Teva’s generic drugs, including pricing data, pricing policies, price increases or
                     decreases, or pricing pressure, on its generic drugs;

            iii.     Teva’s reported financial results, including profits and revenues from Teva’s
                     generic drugs, and compliance with GAAP (including Item 303/5), and SOX;1

            iv.      Defendants’ statements about the competition that Teva faced in the generic drug
                     industry;

                v.   Defendants’ statements about the acquisition or potential acquisition by Teva of
                     other generic drugs manufacturers;

            vi.      Communications with other generic drug companies distributors, and wholesalers
                     regarding pricing of generic drugs, allocating markets for generic drugs, and other
                     anti-competitive conduct;

           vii.      Teva’s acquisition of Actavis;



1
    Capitalized terms not defined herein have the meanings specified in the operative Complaint (ECF No. 226).



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       viii.   Teva’s December 3, 2015 and January 6, 2016, secondary offering of ADS and
               Preferred Shares;

        ix.    Teva’s July 21, 2016 offering of debt securities;

         x.    The terminations of Messrs. Levin, Olafsson, Vigodman, and Desheh, among
               others;

        xi.    Investigations and inquiries into Teva’s generic drug pricing, including by the State
               AGs, the DOJ, Congress and the GAO;

        xii.   Teva’s $6.5 billion write-down of goodwill and 75% dividend reduction announced
               on August 3, 2017.

               Discovery in this action should not be tied in any way to In re Generics

Pharmaceuticals Pricing Antitrust Litigation, 16-MD-2724 (E.D. Pa.) (the “Generics MDL”).

Defendants themselves advised Judge Rufe in the Generics MDL that the instant action “will

ultimately turn on what the defendants communicated to the investing public, whether those

communications were misleading, whether the defendants acted with the scienter required for a

claim of securities fraud, and whether their public statements caused investors’ losses,” and thus

“will require discovery focused on the aforementioned securities-specific issues. Those securities

law issues, of course, have no relevance whatsoever in this antitrust MDL.” 16-MD-2724 (E.D.

Pa.), ECF 685 at 7.

       Defendants’ Position:

       Plaintiffs’ statement of its discovery needs is overbroad, unduly burdensome, and exceeds

the scope of discovery under Fed. R. Civ. P. 26(b). Given the significant overlap between this

case and the In re Generics Pharmaceuticals Pricing Antitrust Litigation, 16-MD-2724 (E.D. Pa.)




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MDL action, discovery between the actions should be coordinated to avoid discovery

inefficiencies and the unnecessary waste of party resources.

       Defendants require discovery on any non-privileged matter within the scope of Federal

Rule of Civil Procedure 26(b) including, without limitation, on the following subjects:

             i.   Relevant information known by confidential witnesses identified in the operative
                  complaint;

            ii.   The named Plaintiffs’ status as shareholders of Teva stock;

         iii.     The adequacy and typicality of named Plaintiffs as class representatives;

         iv.      Plaintiffs’ reliance on alleged misstatements and omissions;

            v.    The materiality of the alleged misstatements and omissions;

         vi.      Plaintiffs’ alleged damages.

       c.         Plaintiffs’ Position: Fact discovery commenced on October 11, 2019, and all fact

discovery will be completed (not propounded) by August 6, 2020. This schedule is fully consistent

with the schedules in other major securities class actions, as noted above. To this end, Plaintiffs

propounded a full set of document requests on October 3, 2019, which are deemed served on the

date of the Rule 26(f) conference (October 11, 2019). Plaintiffs set forth their proposal for efficient

and timely production of responsive documents in Section VIII below. Defendants’ Position: All

discovery, including depositions of expert witnesses pursuant to Fed. R. Civ. P. 26(b)(4), will be

commenced by October 25, 2019, and will be completed (not propounded) by September 3, 2021.

       d.         Discovery will not be conducted in phases.

       e.         If discovery will be conducted in phases, describe each phase and state the date by

which it will be completed by: not applicable.

       f.         Plaintiffs’ Position: Plaintiffs anticipate that they will require a total of 24

depositions of fact witnesses. The depositions will commence no later than 90 days after



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completion of Defendants’ production of documents responsive to Plaintiffs’ First Requests for

Production (deemed served October 11, 2019), and will be completed by the close of fact discovery

(August 6, 2020). Depositions in the current case should not in any way be contingent on the

timing of depositions in the Generics MDL. Defendants’ Position: Defendants anticipate that

they will require a total of 24 depositions of fact witnesses. No deposition of a fact witness shall

occur here before that witness is deposed in the In re Generics Pharmaceuticals Pricing Antitrust

Litigation, 16-MD-2724 (E.D. Pa.) MDL action commence. Depositions in the MDL action

currently are scheduled to begin on March 16, 2020.

        g.       The parties do not currently intend to request leave from the Court to serve more

 than 25 interrogatories.

        h.       Plaintiffs intend to call expert witnesses at trial. Defendants intend to call expert

witnesses at trial.

        i.       Trial experts on any issues on which they bear the burden of proof.

        Plaintiffs’ Position: The parties will designate all trial experts (“Trial Experts”) and serve

their reports pursuant to Fed. R. Civ. P. 26(a)(2) (“Opening Reports”) no later than 7 days after

the close of fact discovery (August 6, 2020). The parties will designate all rebuttal trial experts

(“Rebuttal Experts”) and serve their reports pursuant to Fed. R. Civ. P. 26(a)(2) (“Rebuttal

Reports”) no later than 21 days after the deadline for designating Trial Experts and serving

Opening Reports.

        Defendants’ Position: Parties will designate all trial experts and provide opposing counsel

with reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) on any issues on which they

bear the burden of proof by May 28, 2021. Depositions of any such experts will be completed by

June 30, 2021.




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       j.      Trial experts on any issues on which they do not bear the burden of proof:

       Plaintiffs’ Position: Rebuttal Experts shall be deposed within the 14-day period after the

deadline for serving Rebuttal Reports. Trial Experts shall be deposed within the 14-day period

after the deadline for deposing Rebuttal Experts.

       Defendants’ Position: Parties will designate all trial experts and provide opposing counsel

with report from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) on any issues on which they

do not bear the burden of proof by July 23, 2021. Depositions of such experts will be completed

by September 3, 2021.

       k.      Damage Analysis.

       Plaintiffs’ Position: A damages analysis will be provided by any party who has a claim or

counterclaim for damages no later than 7 days after the close of fact discovery (August 6, 2020),

and rebuttal damages analysis and depositions will follow the schedule for Rebuttal Reports and

depositions of Rebuttal Experts and Trial Experts set forth in items (i) and (j) above.

       Defendants’ Position: A damages analysis will be provided by any party who has a claim

or counterclaim for damages by May 28, 2021.

       l.      Undersigned counsel (after consultation with their respective clients concerning

computer-based and other electronically stored information (“ESI”) management systems,

including historical, archival, back-up and legacy files, in order to understand how information is

stored and how it may be retrieved) will meet and confer to discuss the disclosure and preservation

of ESI, including, but not limited to, the form in which such data shall be produced, search

parameters and/or other techniques to be used in connection with the retrieval and production of

such information, the location and format of ESI, appropriate steps to preserve ESI, and the

allocation of costs of assembling and producing such information. The parties will agree to




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procedures for the preservation, disclosure and management of ESI. Counsel will conclude the

meet and confers regarding the preservation, retrieval and production of ESI (including without

limitation search terms and form of production) by November 15, 2019.

       m.      Undersigned counsel (after consultation with their clients) will also discuss the

location(s), volume, organization, and costs of retrieval of information stored in paper or other

non-electronic forms. The parties will agree to procedures for the preservation, disclosure and

management of such information. Counsel will conclude the meet and confers regarding the

preservation, retrieval and production of non-electronic information by November 15, 2019.

       n.      Plaintiffs’ Position: Undersigned counsel (after consultation with their clients)

have discussed discovery procedures that minimize the risk of waiver of privilege or work-product

protection, including procedures for asserting privilege claims after production. The creation of

privilege logs will be consistent with Fed. R. Civ. P. 26(a)(b)(5)(A), and the parties will exchange

privilege logs on a rolling basis, with the final privilege log to be served within 14 days of

completion of production. Further, consistent with Fed. R. Civ. P. 26(a)(b)(5)(B), if information

produced in discovery is later subject to a claim of privilege or of protection as trial-preparation

material, including information protected by the work-product doctrine, the party making the claim

may notify any party that received the information of the claim and the basis for it. After being

notified, a receiving party must promptly sequester the specified information and any copies it has;

must not use or disclose the information (except to the Court) until the claim is resolved; must take

reasonable steps to retrieve the information if the receiving party disclosed it before being notified;

and may, within fourteen (14) days after sequestering the disclosed information, present the

information to the Court under seal for an order that the claim of privilege or protection does not

apply. The producing party may respond within ten (10) days, and the receiving party may reply




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within seven (7) days. The producing party must preserve the information until the claim is

resolved.

        Defendants’ Position: Undersigned counsel will discuss discovery procedures that

minimize the risk of waiver of privilege or work-product protection, including procedures for

asserting privilege claims after production. The parties will confer and agree to procedures for

asserting claims of privilege after production. The parties expect to submit to the Court a proposed

protective order that will govern the treatment of confidential information and inadvertent

production of information subject to privilege or other protection.

        C.        Other Scheduling Issues

        The parties propose the following schedule for addressing other issues pertinent to this

case.

        1.        The parties will meet and confer regarding their respective positions on

consolidation of this matter with other matters, and they will jointly or separately inform the Court

of their position or file any applicable motions by November 22, 2019.

        2.        Class Certification:

        Plaintiffs’ Position: Since class certification may involve consideration of underlying

        facts, and likely will involve some of the same expert opinions on merits issues (such as

        causation and damages), efficiency counsels in favor of class certification deadlines that

        are concurrent with merits expert discovery, as set forth below:

             i.   Any motion for class certification and accompanying expert report(s) may be filed
                  no later than August 13, 2020 (7 days after the close of fact discovery);

            ii.   Memoranda in opposition to any motion for class certification and accompanying
                  expert report(s) may be filed no later than 21 days after the motion for class
                  certification, and such expert(s) shall be deposed within the 14-day period after
                  their reports are filed;




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         iii.   Memoranda in further support of any motion for class certification may be filed,
                together with any accompanying expert report(s), no later than 21 days after the
                deadline to depose any experts submitting reports in opposition to class
                certification. Experts submitting reports in support of class certification shall be
                deposed, and all discovery concerning class certification shall conclude, within the
                14-day period after the deadline to depose experts submitting reports in opposition
                to class certification.

       Defendants’ Position: Rule 23(c) of the Federal Rules of Civil Procedures explicitly

requires the Court to adjudicate whether to certify the action as a class action “[a]t an early

practicable time after a person sues or is sued as a class representative.” Fed. R. Civ. P.

23(c)(1)(A). This suit was filed nearly three years ago, on November 6, 2016. Accordingly, under

Rule 23(c), this Court should adjudicate class certification soon. Defendants propose that

Plaintiffs file their motion for class certification in the next two months. Plaintiffs propose that

they file their motion after fact discovery and in conjunction with expert discovery. That is not

“an early practicable time.”

       Moreover, adjudicating class certification soon is not only required by rule but also furthers

the orderly administration of this case. Class certification is a threshold issue, the resolution of

which will substantially impact the scope of this case and the parties’ perspectives on its value. As

a result, it will impact both the scope of permissible discovery in this case as well as the likelihood

of settlement. Given the foregoing, the issue of whether a class is certified should be resolved

early. For example, in the putative securities class action filed against Freddie Mac and several of

its former officers based on allegations relating to the subprime crisis, the court denied plaintiffs’

motion for class certification, which ultimately brought the remainder of fact discovery to a halt

as the plaintiff chose to pursue its appellate options rather than continue to litigate the case in the

trial court. See Ohio Pub. Emps. Ret. Sys. v. Fed. Home Loan Mortgage Corp., No. 4:08-cv-0160,

2018 WL 3861840 (N.D. Ohio Aug. 14, 2018). Moreover, delaying the adjudication of class




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certification raises concerns about whether the doctrine against one-way intervention will be

violated.

       Accordingly, Defendants propose the following class certification schedule:

             i.   Any motion for class certification and accompanying expert report(s) may be filed
                  on or before December 13, 2019;

            ii.   Any expert submitting a report in support of a motion for class certification must
                  be deposed before January 24, 2020;

        iii.      Memoranda in opposition to any motion for class certification and accompanying
                  expert report may be filed or no later than February 21, 2020;

            iv.   Any expert submitting a report in support of an opposition to a motion for class
                  certification must be deposed before March 20, 2020;

            v.    Memoranda in further support of any motion for class certification may be filed,
                  and all discovery concerning class certification shall conclude by April 17, 2020.

       G.         Summary Judgment Motions:

       Plaintiffs’ Position: Summary judgment motions, which must comply with Local Rule 56,

will be filed on or before October 9, 2020. This deadline—approximately one year after the

Court’s ruling on Defendants’ motions to dismiss and the commencement of discovery—is fully

consistent with the schedules in other major securities class actions, as noted above.

       Defendants’ Position: Summary judgment motions, which must comply with Local Rule

56, will be filed on or before October 1, 2021.

       H.         Joint Trial Memorandum

       Plaintiffs’ Position: The joint trial memorandum required by the Standing Order on Trial

Memoranda in Civil Cases will be filed no later than 60 days after the deadline for summary

judgment motions, or, if later, 60 days after the ruling on any summary judgment motions.

Defendants’ Position: The joint trial memorandum required by the Standing Order on Trial




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Memoranda in Civil Cases will be filed no later than 60 days after the ruling on any summary

judgment motions.

VI.       TRIAL READINESS

          The case will be ready for trial 60 days after filing of the joint trial memorandum.

VII.      DEADLINES

          For the convenience of the Court, the parties submit the following table of deadlines

contained herein:

          Plaintiffs’ Position:

 Item                    Event                          Plaintiffs’ Proposed Deadline
 V.E.c.     Discovery commenced              October 11, 2019
 V.A.1.     Initial disclosures              November 15, 2019
 V.E.l-     Complete meet and confers        November 15, 2019
 m          re: ESI and other documents
 V.F.1      Submission(s) re:                November 22, 2019
            consolidation
 V.D.1.     Plaintiffs’ motion(s) to join    September 4, 2020 (30 days after close of fact
            additional parties               discovery)
 V.D.2.     Defendants’ motion(s) to         October 5, 2020 (30 days after deadline for Plaintiffs’
            join additional parties          motion(s) to join additional parties)
 VIII.1.    Defendants’ production of        Commenced by November 25, 2019; completed by
            documents responsive to          February 7, 2020 (120 days after service), with
            Plaintiffs’ First Requests for   privilege log due February 21, 2020
            Production
 VIII.2.    Interrogatories and requests     June 5, 2020 (60 days before close of fact discovery)
            for admission served no
            later than
 V.E.c.     Fact discovery completed         August 6, 2020 (10 months after commenced)
            (not propounded)
 V.E.f.     Fact depositions commence        May 8, 2020 (90 days after Defendants complete
            by                               production of documents responsive to Plaintiffs’ First
                                             Requests for Production)
 V.E.f.     Fact depositions completed       August 6, 2020 (90 days from commencement)
 V.E.i,     Trial Expert reports             August 13, 2020 (7 days after close of fact discovery)
 k.         exchanged and damages
            analysis served
 V.F.2.     Motions for class                August 13, 2020 (7 days after close of fact discovery)
            certification and related
            expert report(s) no later than


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V.E.i.     Rebuttal Expert reports and    September 3, 2020 (21 days after deadline to exchange
           damages analysis               Trial Expert reports)
V.F.2.     Opposition to class            21 days after class certification motion filed
           certification and related
           expert report(s)
V.F.2.     Depositions of expert(s)       14 days after report(s) filed
           opposing class certification
V.E.j.     Rebuttal Expert depositions    September 17, 2020 (14 days after deadline to
           completed                      exchange Rebuttal Expert reports and damages
                                          analysis)
V.E.j.     Trial Expert depositions       October 1, 2020 (14 days after deadline for Rebuttal
           completed                      Expert depositions)
V.F.2.     Depositions of expert(s)       14 days after deadline to depose experts opposing class
           supporting class               certification
           certification; class
           certification discovery
           complete
V.F.2.     Reply in support of class      21 days after deadline for deposing experts submitting
           certification and related      reports in opposition to class certification)
           expert report(s)
V.G.       Motions for Summary            October 9, 2020
           Judgment


         Defendants’ Position:

                            Event                                   Deadline
Initial disclosures                                            November 15, 2019
Plaintiffs motion(s) to join additional parties                May 30, 2021
Defendants motion(s) to join additional parties                July 9, 2021
Discovery commenced                                            October 25, 2019
Discovery completed (not propounded)                           September 3, 2021
Fact depositions completed                                     April 30, 2021
Expert reports exchanged                                       May 28, 2021
Expert depositions completed                                   June 30, 2021
Rebuttal expert reports                                        July 23, 2021
Rebuttal expert depositions completed                          September 3, 2021
Damages analysis served                                        May 28, 2021
Motions for class certification and related expert report(s)   December 13, 2019
Class certification expert deposition completed                January 24, 2020
Opposition to class certification and related expert report(s) February 21, 2020
Class certification opposition expert deposition completed March 20, 2020
Reply in support of class certification                        April 17, 2020
Motions for summary judgment                                   October 1, 2021




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VIII. ADDITIONAL ITEMS

        The following additional items are raised by Plaintiffs. Defendants’ position on each of

these is to defer to the Federal Rules of Civil Procedure, the Local Rules, and Chambers Practices.

        1.      Production of Documents. Defendants’ production of documents responsive to

Plaintiffs’ First Requests for Production (deemed served October 11, 2019) shall commence by

November 25, 2019, and shall be complete no later than February 7, 2020 (120 days after service

of the First Requests for Production). These deadlines are necessary to ensure that Defendants

commence and complete production promptly, and with sufficient time to prepare for and conduct

depositions.

        2.      Timing of Interrogatories. Interrogatories and requests for admission shall be

served no later than 60 days before the close of fact discovery.

        3.      Discovery Dispute Resolution. Plaintiffs propose the following procedures to

streamline the process for resolving discovery disputes, which are based on prior experience in the

Southern District of New York and Eastern District of Virginia in complex securities cases and will

ensure that issues are efficiently raised and resolved. Prior to seeking judicial resolution of a

discovery dispute, counsel for the parties shall attempt to confer in good faith in person or by

telephone in an effort to resolve the dispute, in conformity with Fed. R. Civ. P. 37(a)(1), and such

meet and confer shall be held within two (2) days following written request by a party for a meet

and confer concerning discovery. If the parties are unable to resolve the dispute by meeting and

conferring, or if a party fails to meet and confer within two (2) days following written notification

of a discovery dispute, the disputing party may contact the Court to request a telephonic conference

to resolve the dispute. Unless otherwise ordered by the Court, at 5 PM two business days in advance

of such telephonic conference, each side may simultaneously file a single letter brief with the Court,

which will be docketed as a pleading per the Court’s Pretrial Preferences. Each letter brief shall


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not exceed three (3) pages in length, exclusive of any cover page and exhibits. Such letter briefs

must include a representation that the meet-and-confer process occurred and was unsuccessful, or

that a party failed to timely meet and confer, and shall outline the nature of the dispute and attach

relevant materials. When a discovery dispute cannot be resolved by the parties and requires the

Court’s attention, the parties acknowledge that costs may be awarded under Fed. R. Civ. P. 37(a)(4).

        4.       Limitations on Extensions. Any motions for extension of time: (i) must comply

with the requirements of Local Rule 7(b), (ii) shall not be granted by the mere agreement of counsel,

(iii) will only be granted for good cause even when the parties are in agreement to such motion, and

(iv) that such motions will be looked upon with disfavor. Absent an agreement by the parties to a

motion for extension of time, the motion will be granted only under the most compelling

circumstances.

        5.       Electronic Service. Pursuant to Fed. R. Civ. P. 5(b)(2)(E), counsel for all parties

consent to service by electronic mail of all papers required to be served under the Federal Rules.

                                                ***


        As officers of the Court, undersigned counsel agree to cooperate with each other and the

Court to promote the just, speedy and inexpensive determination of this action.




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PLAINTIFFS ONTARIO TEACHERS’                      DEFENDANTS TEVA
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ANCHORAGE POLICE & FIRE                           LTD.; EREZ VIGODMAN; EYAL
RETIREMENT SYSTEM                                 DESHEH; SIGURDUR OLAFSSON;
                                                  DEBORAH GRIFFIN; AND TEVA
                                                  PHARMACEUTICAL FINANCE
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2019, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by email to all parties by operation of the court’s electronic filing

system or by mail to anyone unable to accept electronic filing. Parties may access this filing

through the court’s CM/ECF system.



                                                       _/s/ Joseph A. Fonti________
                                                       Joseph A. Fonti




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